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                                            U.S. Department of Justice


                                            United States Attorney
                                            Eastern District of New York
   EAG/AL                                   271 Cadman Plaza East
   F.#2010R00153                            Brooklyn, New York 11201

                                            October 5, 2012

   By Hand Delivery and ECF

   The Honorable Kiyo A. Matsumoto
   United States District Judge
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

               Re:    United States v. Richard Fusco
                      Criminal Docket No. 11-30 (KAM)

   Dear Judge Matsumoto:

             The government respectfully submits this letter in
   anticipation of sentencing in the above-captioned case, which is
   scheduled for October 31, 2012. For the reasons set forth below,
   the government respectfully asks the Court to craft a sentence
   that is sufficient to serve the goals set forth in 18 U.S.C.
   § 3553(a)(1) and 3553(a)(2) and, in particular, a sentence that
   specifically reflects the “the history and characteristics of the
   defendant,” “promote[s] respect for the law,” “provide[s] just
   punishment for the offense” and “afford[s] adequate deterrence to
   criminal conduct.”

   I.    Background

             On January 12, 2011, a grand jury in the Eastern
   District of New York returned an indictment charging the
   defendant and thirty-eight others with a variety of offenses,
   including racketeering conspiracy, based on their leadership of,
   membership in and association with the Colombo organized crime
   family of La Cosa Nostra (the “Colombo family” and “LCN,”
   respectively). (Docket Entry No. 1.)

             The defendant was charged in Count Forty-one of the
   indictment with extortion conspiracy, in violation of 18 U.S.C.
   § 1951(a). (Id. ¶ 233.) On January 20, 2011, the indictment was
   unsealed and the defendant was arrested. (Docket Entries Nos. 2,
   91.) On September 29, 2011, the defendant pled guilty to Count
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   Forty-one, pursuant to a plea agreement, before the Honorable
   Ramon E. Reyes, Jr. (Docket Entry No. 558.)

   II.   Discussion

             The government respectfully submits that the Court
   should craft a sentence that specifically reflects the “the
   history and characteristics of the defendant,” “promote[s]
   respect for the law,” “provide[s] just punishment for the
   offense” and “afford[s] adequate deterrence to criminal conduct.”

         A.    Legal Standard

             The Sentencing Guidelines are advisory, not mandatory.
   United States v. Booker, 543 U.S. 220, 258-60 (2005). However,
   the Supreme Court held in Booker that sentencing courts must
   consider the Guidelines in formulating an appropriate sentence.
   Id. In Gall v. United States, 552 U.S. 38 (2007), the Supreme
   Court set forth the procedure for sentencing courts to follow in
   light of Booker:

               [A] district court should begin all sentencing
               proceedings by correctly calculating the
               applicable Guidelines range. As a matter of
               administration and to secure nationwide
               consistency, the Guidelines should be the
               starting point and the initial benchmark.

   Gall, 552 U.S. at 49 (citation omitted). Next, a district court
   should “consider all of the § 3553(a) factors to determine
   whether they support the sentence requested by a party. In so
   doing, [a district court] may not presume that the Guidelines
   range is reasonable. [A district court] must make an
   individualized assessment based on the facts presented.” Id. at
   49-50 (citation and footnote omitted).

         B.    The Guidelines Range Is 18 to 24 Months

             The Probation Department has determined that the total
   offense level is 16, that the defendant is in Criminal History
   Category II, and that the advisory Guidelines range of
   imprisonment is therefore 24 to 30 months. (Presentence
   Investigation Report (“PSR”) ¶¶ 21-40, 78.)

             The government agrees with this determination, except
   that the government is prepared to move for an additional two-
   level reduction, pursuant to U.S.S.G. §5K2.0, based on a global
   disposition. Therefore, the government submits that the total

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   offense level is 14 and the advisory Guidelines range of
   imprisonment is 18 to 24 months.

         C.    No Downward Departures Are Warranted

             The defendant moves for downward departures based on a
   variety of circumstances. While some of those circumstances
   merit consideration under 18 U.S.C. § 3553(a), no departures are
   warranted under the Guidelines.

               1.    Legal Standard

             The defendant bears the burden of proving that he is
   entitled to a downward departure under the Guidelines. United
   States v. Cotto, 347 F.3d 441, 445 (2d Cir. 2003). He must do so
   by a preponderance of the evidence. United States v. Robertson,
   09 CR 87 (JMC), 2011 WL 5353071, at *4 (D. Vt. Oct. 4, 2011)
   (citing United States v. Valdez, 426 F.3d 178, 184 (2d Cir.
   2005)); United States v. Volpe, 78 F. Supp. 2d 76, 89 (E.D.N.Y.
   1999) (citing United States v. Anders, 956 F.2d 907, 911 (9th
   Cir. 1992)).

               2.    Discussion

             First, the defendant moves for a departure based on his
   physical condition, which includes kidney failure, ongoing
   dialysis and heart conditions. (Def.’s Stg. Mem. (Docket Entry
   No. 918) at 1; Ltr. from Dr. Melvin B. Weiss (Docket Entry No.
   961) at 1-2.) A departure based on physical condition applies
   only when there is “[a]n extraordinary physical impairment.”
   U.S.S.G. § 5H1.4. For example, the Guidelines provide that “in
   the case of a seriously infirm defendant, home detention may be
   as efficient as, and less costly than, imprisonment.” Id. “To
   qualify, [physical impairments] typically must be impairments
   that the prison system is unable to accommodate.” United State
   v. Troche, 01 CR 274 (RWS), 2003 WL 223468, at *2 (S.D.N.Y. Jan.
   21, 2003) (citing United States v. Altman, 48 F.3d 96 (2d Cir.
   1995)). The defendant has simply not met his burden of showing
   that the prison system is unable to accommodate his physical
   conditions, and this departure is therefore not warranted. In
   addition, in United States v. Rioux, 97 F.3d 648, 662-63 (2d Cir.
   1996), which the defendant cites as support for a departure on
   the basis of physical condition, the Second Circuit merely held
   that “[i]t was not an abuse of discretion for the district court
   to conclude that, in combination, [the defendant’s] medical
   condition and charitable and civic good deeds warranted a
   downward departure,” but the Circuit did not hold that some


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   particular medical condition inherently warrants a departure,
   especially when divorced from charitable and civic good deeds.

             Second, the defendant moves for a departure based on
   his alleged depression and early onset Alzheimer’s disease.
   (Def.’s Stg. Mem. at 1-2.) A departure based on mental or
   emotional condition is available only when “such conditions,
   individually or in combination with other offender
   characteristics, are present to an unusual degree and distinguish
   the case from the typical cases covered by the guidelines.”
   U.S.S.G. § 5H1.3. Significantly, this departure has a causation
   requirement, i.e., the mental or emotional condition must have
   contributed to the defendant’s commission of the offense. United
   States v. Brady, 417 F.3d 326, 334 (2d Cir. 2005).1 The
   defendant cannot show any causal link between his alleged mental
   and emotional conditions and the crime he has committed.

             Third, the defendant moves for a departure based on his
   being 76 years old. (Def.’s Stg. Mem. at 2.) The applicable
   Guideline provides that:

         Age (including youth) may be relevant in determining
         whether a departure is warranted, if considerations
         based on age, individually or in combination with other
         offender characteristics, are present to an unusual
         degree and distinguish the case from the typical cases
         covered by the guidelines. Age may be a reason to
         depart downward in a case in which the defendant is
         elderly and infirm and where a form of punishment such
         as home confinement might be equally efficient as and
         less costly than incarceration.

   U.S.S.G. § 5H1.1. The government respectfully submits that the
   defendant’s age is not unusual, even in combination with his
   other characteristics, and, in any event, the defendant has not
   satisfied his burden of showing that another form of punishment
   is equally efficient as and less costly than incarceration.



         1
             In 2010, the Sentencing Commission revised this
   Guideline to authorize departures based on the “unusual degree”
   standard set forth above, whereas it has previously authorized
   departures only in “extraordinary” cases. Compare U.S.S.G. §
   5H1.3 (amended 2010) and U.S.S.G. § 5H1.3 (amended 2004).
   However, there is no reason to believe that this amendment
   affected the causation requirement set forth in cases decided
   prior to the amendment.

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             Fourth, the defendant moves for a departure based on
   his military service. (Def.’s Stg. Mem. at 2.) The Guidelines
   provide that “[m]ilitary service may be relevant in determining
   whether a departure is warranted, if the military service,
   individually or in combination with other offender
   characteristics, is present to an unusual degree and
   distinguishes the case from the typical cases covered by the
   guidelines.” U.S.S.G. § 5H1.11. Because, until 2010, this
   Guideline required “extraordinary” service, there is a dearth of
   case law interpreting the “unusual degree” standard. Compare
   U.S.S.G. § 5H1.11 (amended 2010) and U.S.S.G. § 5H1.11 (amended
   2004). However, the government respectfully submits that,
   although the defendant’s military service is praiseworthy, the
   defendant has not shown anything “unusual” about his military
   service that would justify a departure.

             Fifth and finally, the defendant moves for a departure
   based on his argument that the conduct underlying his conviction
   is outside the “heartland” of the Guidelines. (Def.’s Stg. Mem.
   at 2, 16-18; see also Def.’s Ltr. to Probation Department dated
   August 31, 2012.2) That argument cannot be taken seriously. As
   the Second Circuit has explained:

         The imposition of a sentence outside the applicable
         Guideline range pursuant to § 5K2.0 is appropriate
         where certain aspects of the case are found unusual
         enough for it to fall outside the heartland of cases
         within that Guideline. If the District Court relies on
         a factor that is not unusual under the circumstances
         presented, then the decision may be overturned.

   United States v. Thorn, 446 F.3d 378, 391 (2d Cir. 2006)
   (citation, quotation marks and brackets removed). This case
   presents no unusual aspects. The defendant has been convicted of
   extortion conspiracy. His conduct consisted of agreeing with
   other high-ranking members of the Colombo family to extort
   members and associates of the Gambino crime family in order to
   pay for medical expenses incurred by a Colombo family associate
   who had been stabbed by a Gambino family associate. (PSR ¶¶ 8-
   9.) In particular, the conspirators agreed that in exchange for
   their promise not to retaliate, they would require the Gambino



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             To the extent the defendant objects to the Probation
   Department’s description of the crime of conviction, the
   government opposed his objection for the reasons set forth in
   this letter.

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   family to pay $150,000.       (Id. ¶¶ 13, 15.)     The defendant himself
   has admitted that:

         At or before the June 2010 meeting [among high-ranking
         members of the Colombo family], I learned that the
         persons from my group who met with the other group may
         have implied a threat of bodily injury to the stabber,
         if the requested compensation for the stabbing victim
         was not provided. I allowed this implied threat to
         stand and did nothing to dispel it.

   (Id. ¶ 20; see also Transcript of Guilty Plea at 21-22.) Given
   these facts and admissions, the defendant cannot possibly argue
   that his conduct -- participating in a criminal enterprise’s
   conspiracy to extort a rival criminal enterprise -- is in any
   respect outside the heartland of the Guidelines.

         C.    The Sentence Must Reflect the History and
               Characteristics of the Defendant, Promote Respect for
               the Law, Provide Just Punishment and Afford Adequate
               Deterrence

             Based on the factors set forth in 18 U.S.C. § 3553(a),
   the government urges that Court to craft a sentence that
   specifically reflects the “the history and characteristics of the
   defendant,” “promote[s] respect for the law,” “provide[s] just
   punishment for the offense” and “afford[s] adequate deterrence to
   criminal conduct.”

               1.    The Natures and Circumstances of the Offense

             The defendant has been convicted of extortion
   conspiracy. As noted above, the defendant and other high-ranking
   members of the Colombo family agreed to extort $150,000 from
   members and associates of the Gambino crime family. This is a
   serious crime that warrants a serious punishment. 18 U.S.C.
   § 3553(a)(1). This is especially true because the crime was
   committed under the auspices of organized crime. The Colombo
   family is a dangerous criminal enterprise that uses violence,
   including murder, to further its interests. (PSR ¶¶ 5-7.) The
   very nature of one crime family conspiring to extort another
   crime family could easily have led to violence.

               2.    The Defendant’s History and Characteristics

             The defendant’s history and characteristics show that
   he is committed to a life of crime. 18 U.S.C. § 3553(a)(1).


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             As a preliminary matter, the defendant was a member of
   the Colombo family administration, the three-man body responsible
   for administering the affairs of the Colombo family, a position
   he held between approximately 2008 and his arrest in January
   2011. Specifically, Fusco served as the consigliere, or
   counselor, of the Colombo family. (PSR ¶¶ 3, 8.) In his
   capacity as an administration member, Fusco attended numerous
   meetings with other high-ranking members of the Colombo family -
   and other organized crime families – and sponsored associates to
   become new members of the Colombo family. These facts are, in
   themselves, serious factors for sentencing.

             In addition, his history includes two prior
   convictions. Most recently, in 1997, the defendant was sentenced
   to a 168-month term of imprisonment based on his conviction for
   racketeering conspiracy. (Id. ¶¶ 36-37.) In that case, he was
   held accountable for all of the murders, murder attempts and
   murder conspiracies that took place during the “Colombo family
   war,” a violent struggle between two factions for control of the
   Colombo family, and which culminated in the 1993 murder of Joseph
   Scopo (charged in the present case against Anthony Russo). (Id.
   ¶ 37.) Notably, the defendant carried a firearm during this
   period, and he “actively participated in the stalking” of Scopo.
   (Id.) This conviction, and the facts underlying it, demonstrate
   the defendant’s unwavering commitment to committing crime within
   the Colombo family and to participating in violence -- including
   murder -- in order to maintain control of the Colombo family.

             In addition, in 1979, the defendant was sentenced to a
   two-and-a-half-year term of imprisonment based on his conviction
   for securities fraud, and he was arrested for bookmaking in 1965
   and 1967. (Id. ¶¶ 33-34, 41-44.) These facts demonstrate that
   committing crime has always been a way of life for the defendant.
   Although some of this criminal history is remote in time, it is
   part of the defendant’s history and characteristics, and should
   be taken into account. Indeed, as discussed above, the defendant
   has asked the Court to take account of his military service,
   which ended in 1962. (PSR ¶ 50.)

             The defendant argues that a lenient sentence is
   warranted based on his “myriad of health problems and extremely
   limited life expectancy.” (Def.’s Stg. Mem. at, inter alia, 16.)
   Significantly, the defendant’s alleged health problems did not
   prevent him from committing crimes or assuming a high-ranking
   position in the Colombo family, all in the very recent past.
   Therefore, crafting a sentence that places undue reliance on
   Fusco’s ailing health would thwart the other purposes of

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   sentencing, such as reflecting the seriousness of the offense,
   promoting respect for the law, providing just punishment, and
   providing deterrence. Each of these factors, discussed below, is
   important in this case. Furthermore, given the defendant’s
   position as consigliere of the Colombo family, his health would
   not prevent him from committing more crimes in the future -- as
   his history and characteristics make clear he will -- because he
   can direct others to carry out crimes.

               3.    Reflecting the Seriousness of the Offense,
                     Promoting Respect for the Law and
                     Providing Just Punishment

             The sentence must reflect the seriousness of the
   offense, promote respect for the law and provide just punishment.
   18 U.S.C. § 3553(a)(2)(A). As noted above, the defendant’s
   offense is serious and carried a high risk of violence. In
   addition, by engaging in a life of crime under the auspices of
   the Colombo family, including by participating in the Colombo
   family war, the defendant has demonstrated that he has no respect
   for the law.

               4.    Affording Deterrence and Protecting the Public

             The sentence must afford adequate deterrence to
   criminal conduct and protect the public from further crimes of
   the defendant. 18 U.S.C. § 3553(a)(2)(B) and (C). “Under
   section 3553(a)(2)(B), there are two major considerations:
   specific and general deterrence.” United States v. Davis, No.
   08-CR-332 (JBW), 2010 WL 1221709, at *2 (E.D.N.Y. March 29,
   2010). The defendant’s prior arrests and convictions did not
   serve the purpose of specific deterrence -- nor did his prior
   168-months sentence -- and his ongoing membership in the Colombo
   family, and his position of leadership within the Colombo family,
   demonstrates that the defendant lacks respect for the law. In
   sum, a lenient sentence would not sufficiently deter either the
   defendant or others who, like the defendant, are in a position to
   choose between a law-abiding life and a life of crime.

         C.    A Fine Within the Guidelines Range Is Warranted

             The government also asks the Court to impose a fine.
   Section 5E1.2(a) of the Guidelines provides that “[t]he court
   shall impose a fine in all cases, except where the defendant
   establishes that he is unable to pay and is not likely to become
   able to pay any fine.” In this case, the defendant has not
   established such an inability to the Probation Department (PSR
   ¶ 76), and has not otherwise sustained his burden of showing such

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   an inability, United States v. Tocco, 135 F.3d 116, 133 (2d Cir.
   1998) (defendant bears this burden). Therefore, it is now
   appropriate that he “reimburse society for the drain on economic
   resources caused by [his] li[fe] of crime and for the high costs
   of [his] own necessary imprisonment,” United States v. Sessa, 821
   F. Supp. 870, 875 (E.D.N.Y. 1993) (Weinstein, J.), by paying a
   fine within the advisory Guideline range of $4,000 to $40,000,
   U.S.S.G. § 5E1.2(c)(3).

   III. Conclusion

             In this case, given all of the facts and circumstance
   discussed above, the government respectfully submits that the
   Court should impose (1) a sentence that specifically reflects the
   “the history and characteristics of the defendant,” “promote[s]
   respect for the law,” “provide[s] just punishment for the
   offense” and “afford[s] adequate deterrence to criminal conduct”
   and (2) a fine within the advisory Guidelines range of $4,000 and
   $40,000.



                                              Respectfully submitted,

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   cc:   Clerk of the Court (KAM) (by ECF)
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